                                    UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF NORTH CAROLINA
                                        CHARLOTTE
                                       _______________    DIVISION
                                                  3:17-cv-00346-RJC-DSC
                                      DOCKET NO. _______________
 Steve Gifford and The Creative Product Group, Inc.
 __________________________________,                              )
                                                                  )
           Plaintiff,                                             )
                                                                  )
 vs.                                                              )            MOTION FOR ADMISSION
                                                                  )                PRO HAC VICE
 Pro Line Products, Inc. and Pro Line Chemicals & Plastics, LLC
 __________________________________,                              )                and AFFIDAVIT
                                                                  )
           Defendant.                                             )
                                                                  )
                                                                  )

                                 Samuel I. Moss
standing with the Bar with the United States District Court for the Western District of North
Carolina                                                       Hunter S. Freeman
                              , and moves for the admission of ______________________________
                                                                      Plaintiffs Steve Gifford and        ________
The Creative Product Group, Inc.
______________________________________________________________________________
_____________________________________________                                         in this above-captioned case.
          By signing this motion, Local Counsel and Applicant certify that:
          1.        Applicant is a member in good standing of the bar of the highest court of the State
or of the District of Columbia where Applicant regularly practices law, which is
South Carolina
______________________________.
          2.         Applicant practices under the name of or as a member of the following firm:
           McNair Law Firm, P.A.
Firm Name: ________________________________________________________________
                 104 South Main Street, Suite 700
Mailing Address: ____________________________________________________________
                    Greenville, SC 29601
City / State / Zip: ____________________________________________________________
                  864-271-4940
Telephone Number: ______________________                   864-271-4015
                                         Facsimile Number: __________________
                         hfreeman@mcnair.net
Email Address (required):_____________________________________________________




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       Case 3:17-cv-00346-RJC-DSC Document 3 Filed 07/14/17 Page 1 of 3
         3.        Applicant certifies that s/he is also admitted to practice before and remains in good
standing with the Courts in the following jurisdictions:
United States District Court District of South Carolina, United States Court of Appeals for the Fourth Circuit,
______________________________________________________________________________
United States District Court for the Eastern District of North Carolina (currently admitted pro hac vice)
_________________________________________________________________.
         4.        Applicant certifies s/he has never been the subject of any formal suspension or
disbarment proceedings; never been denied admission pro hac vice in this or any other jurisdiction
or had pro hac vice admission revoked; never had any certificate or privilege to appear and practice
before any judicial or administrative body suspended or revoked; and has never received public
discipline by any court or lawyer regulatory organization. If Applicant cannot so certify, the
applicant has attached a separate explanation including particular information disclosing the
disciplinary history or the denial of admission.
         5.        Applicant certifies that the client requested Applicant to represent it in this matter,
along with Local Counsel.
         6.        Applicant agrees to be subject to the Orders of the WDNC, including the Local
Rules of the WDNC, and amenable to the disciplinary action and the civil jurisdiction of the
WDNC in all respects as if the applicant were a regularly admitted and licensed member of the
Bar of this Court in good standing.
         7.        Local Counsel is satisfied that Applicant is qualified to practice before the Bar of
the WDNC.
         8.        Local Counsel has conferred with counsel for the other parties, who have indicated
     do not oppose this motion.
they _______
         9.        The required fee for admission pro hac vice is being submitted with the filing of
this motion.
         10.       Applicant consents to electronic notification.




                                                             2




      Case 3:17-cv-00346-RJC-DSC Document 3 Filed 07/14/17 Page 2 of 3
            By signing this Motion, we so certify.
                      14th
            This, the _________        July
                                day of _______________________,   17
                                                                20___.


            /s/ Samuel I. Moss
            _________________________________                 /s/ Hunter S. Freeman
                                                              ____________________________________
            Local Counsel                                     Applicant
      Attorney Name Samuel I. Moss
         Bar Number 44140
          Firm Name McNair Law Firm, P.A.
       Firm Address 101 South Tryon Street
Firm City / State / Zip Charlotte, North Carolina 28280
  Telephone Number 704-347-6456
         Fax Number 704-444-9125
      Email Address smoss@mcnair.net




                                                          3




                   Case 3:17-cv-00346-RJC-DSC Document 3 Filed 07/14/17 Page 3 of 3
